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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF KENTUCKY
                                   SOUTHERN DIVISION AT LONDON

      JAMES A. CHANEY                                       )
                                                            )   Civil Action No. 6:24-cv-0007-REW-HAI
          PLAINTIFF,                                        )
                                                            )
      V                                                     )
                                                            )
      CVS PHARMACY, INC., et al.                            )
                                                            )
          DEFENDANTS.                                       )



            HOMETOWN PHARMACY OF HAZARD, LLC’S MOTION TO DISMISS


           Comes the Defendant, Hometown Pharmacy of Hazard, LLC (hereinafter “Defendant”), by

 counsel, and pursuant to Federal Rule of Civil Procedure 12(b)(6), and hereby moves this Court to

 dismiss all claims of Plaintiff, James “Ace” Chaney (hereinafter “Plaintiff”), against Defendant,

 with prejudice. In support of this Motion, Defendant states as follows:

                      I.       INTRODUCTION AND FACTUAL BACKGROUND

            This case arises from the criminal convictions of Plaintiff in the United States District

  Court of the Eastern District of Kentucky.1 Plaintiff was previously a licensed doctor operating

  primarily in Hazard, Kentucky. He frequently ordered large volumes of prescriptions containing

  controlled substances for his patients.2 Under Kentucky law, pharmacists must report fulfillment

  of prescriptions containing controlled substances.3



 ______________________________
  1
    Plaintiff’s Complaint at ¶ 90-119.
  2
    Superseding Indictment, attached hereto as Exhibit A.
  3
    KRS 218A.202; KAR 55:110.




                                                            2
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             These reports are made through KASPER, which logs the prescriptions and connects

  them to an ordering physician’s unique DEA number. These reports occur only after an ordering

  physician has made out the prescription. Those physicians are then able to review the

  prescriptions fulfilled with their DEA number through KASPER’s “report cards.”4 Sometime

  prior to 2014, Plaintiff became the subject of a federal investigation into his practice and the

  distribution of controlled substances. In 2014, Plaintiff was indicted on dozens of counts

  pertaining to distribution of those controlled substances and conspiracy to commit same.5

             Plaintiff was convicted in 2016 of the above-listed crimes and was sentenced to 180 months

  in prison, which he is currently still serving.6 On December 11, 2023, Plaintiff filed a Complaint

  in the Perry County Circuit Court against over 80 entities/persons alleging negligence, defamation,

  false light, fraud, identity theft under KRS 514.160, and Kentucky Consumer Protection Act

  violations, with the sum total of these allegations sounding in civil conspiracy.7 Plaintiff is now

  seemingly suing every pharmacy that allegedly fulfilled prescriptions he wrote, alleging essentially

  that the defendants acted in concert to make false reports through the KASPER system, which, in

  turn, culminated in his convictions.8

             Defendant, Hometown Pharmacy of Hazard, LLC, is a Kentucky Limited Liability

  Company that is currently in good standing with the Commonwealth.9 Defendant was

  incorporated on November 14, 2019, over five (5) years after the alleged false KASPER reports

  were made.10


  4
   See KASPER Prescriber Report Card User Guide, attached hereto as Exhibit B.
  5
   Exhibit A cited supra note 2 (Plaintiff was indicted on one count of conspiracy to unlawfully distribute controlled
  substances; sixty-two counts of unlawfully distributing controlled substances; and two counts of maintaining a
  premises for unlawful distribution of controlled substances, and other related crimes).
  6
      Plaintiff’s Complaint, at ¶ 118-19.
  7
    See Id. at ¶ 126-66.
  8
    See Id.
  9
    See Kentucky Secretary of State Records, attached hereto as Exhibit C.
  10
     See Articles of Incorporation, attached hereto as Exhibit D.

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                                          II.      LEGAL STANDARD

         To survive a motion to dismiss under FRCP 12(b)(6), a plaintiff’s complaint, “…requires

 more than labels and conclusions, and a formulaic recitation of the elements of a cause of action

 will not do.”11 A plaintiff’s, “[f]actual allegations must be enough to raise allegations above the

 speculative level.”12 Although FRCP 8(c)(1) identifies estoppel as an affirmative defense, an

 absence of real factual disputes permits dismissal on grounds of collateral estoppel.13 A motion to

 dismiss will not be converted to one for summary judgment if it relies on, “public records, matters of

 which a court may take judicial notice.”14

         Extrinsic material which merely “contours and details” the complaint, will not be enough to

 convert a motion to dismiss into one for summary judgment.15 Courts permit broad leeway to

 introduce exhibits, “[W]here the plaintiff ‘fails to introduce a pertinent document as part of his

 pleading, defendant may introduce the exhibit as part of his motion attacking the pleading.’”16




  11
     Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).
  12
     Id.
  13
     Evans v. Pearson Enterprises, Inc., 434 F.3d 839 (6th Cir. Ct. App. 2006).
  14
     Armengau v. Cline, 7 Fed.Appx. 336, 344 (6th Cir. Ct. App. 2001).
  15
     Id.
  16
     Thomas v. Publishers Clearing House, Inc., 29 Fed.Appx. 319, 322 (6th Cir. Ct. App. 2002).


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                                                 III.   ARGUMENT

             A.)      Plaintiff cannot succeed on any of his claims because they are time-barred by
                      all applicable statutes of limitation and there is no cause for tolling.

             Plaintiff’s claims against Defendants are well beyond the applicable limitation periods.

  Statutes of limitation are premised on the idea that a Plaintiff should be encouraged to diligently

  pursue their claims.17 All of Plaintiff’s claims stem from the same set of facts, which occurred on

  or before 2014.18 Though there are several potentially controlling statutes of limitation for

  Plaintiff’s several claims, he is outside the applicable periods for all of these claims. As to

  Plaintiff’s defamation and negligence claims, KRS 413.140 states expressly in pertinent part:

             The following actions shall be commenced within one year:

                      d) an action for libel or slander;

                      …

                      f) A civil action, arising out of any act or omission, in rendering or failing
                         to render, professional services for others…

             KRS 411.210(2) is the pertinent identity theft statute and it states, “The statute of

  limitations for cases under provisions of this section shall be five (5) years from the date of

  discovery…”

             KRS 367.220(5) requires Kentucky Consumer Protection Act claims to be commenced,

  “within one (1) year after any action by the Attorney General has been terminated or within two

  (2) years after the violation of KRS 367.170.”

             Finally, KRS 413.120 controls actions which are to be brought in five years, including

  “(11) An action for relief or damages on the ground of fraud or mistake.” However, KRS 413.245

  and its one-year limitation controls when the alleged fraud arises out of services provided by a


  17
       CTS Corp. v. Waldburger, 51 U.S. 1, 10 (2014).
  18
       Plaintiff’s Complaint at ¶ 90-125.

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  licensed professional, such as a pharmacist.19 Plaintiff’s alleged injuries occurred no later than

  2014, when the criminal indictments were filed against him. The plain text of these statutes show

  Plaintiff has missed the window to bring any claims against these Defendants.

          Though false light is not expressly mentioned in any statute of limitation, the Supreme

  Court of Kentucky has previously held, “An action for defamation and an action for invasion of

  privacy (false light) are closely allied.”20 While KRS 413.160 requires actions not specified by

  statute to be commenced no later than ten years after accrual, false light is so substantially similar

  to defamation that it should be subject to the same limitation period. The same has been held in

  federal proceedings.21 Indeed, false light and defamation are so comparable it is not even

  permissible under Kentucky law to recover for both in the same action.22 Considering the innate

  similarity of defamation and false light, Plaintiff’s false light claim should be similarly dismissed

  for being outside the limitations period.

          Even an invocation of the discovery rule would do nothing to change the staleness of

  Plaintiff’s claims for fraud, identity theft, and negligence. The discovery rule operates to toll the

  statute of limitations for applicable claims when the alleged tortious conduct is concealed from the

  injured party. However, it is only relevant when, “…there is a fraudulent concealment or

  misrepresentation by the defendant of his role in causing the plaintiff’s injuries.”23 The rule

  examines the diligence of the party asserting the concealment and asks what that party should

  have known, given its access to the same information.24


  19
     See Abel v. Austin, 411 S.W.3d 728, 738-39 (Ky. 2013).
  20
     McCall v. Courier-Journal and Louisville Times Co., 623 S.W.2d 882, 888-89 (Ky. 1981); see also Bargo v.
  Goodwill Industries of Kentucky, Inc., 969 F.Supp.2d 819, 829 (E.D. Ky. 2013) (holding the one-year limitations
  period of defamation applied).
  21
     Porter v. Sergent, 2020 WL 4495465 at *11 (E.D. Ky. 2020).
  22
     McCall, 623 S.W.2d at 888-89.
  23
     Queensway Financial Holdings Ltd. v. Cotton & Allen, P.S.C., 237 S.W.3d 141, 151 (Ky. 2007); see also Kelter v.
  WASP, Inc., 5 F.Supp.3d 856, 861 (E.D. Ky. 2014).
  24
     See Id.

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          Plaintiff’s criminal indictment and ensuing trial should have alerted him to any alleged

  conduct by Defendants which might be used to prove the current allegations. Plaintiff moved the

  court with a Motion to Compel in his criminal proceeding, the subject of which was the data

  contained in the KASPER reports that were in the government’s possession.25 Witnesses were also

  examined on the veracity of the KASPER reports obtained by the government.26 While Defendants

  concede nothing about Plaintiff’s supposed objection to the accuracy of these reports, the above

  facts would indicate Plaintiff had actual knowledge of the need to examine these reports during

  the extent of the criminal proceedings against him.27 Testimony at the prior criminal proceeding

  detailed possible KASPER errors during the evidentiary hearing sufficient to provide notice to

  Plaintiff of these prospective claims.28 Though Defendants concede nothing regarding the veracity

  of Plaintiff’s allegations, Plaintiff was perfectly aware that his defense disputed the veracity of the

  KASPER reports.29 Not only did Plaintiff have an opportunity to strategize his defense and uncover

  any potentially exculpatory facts during the extent of the criminal proceeding against him, but he

  was permitted to make full use of the KASPER system to obtain report cards, through which he

  could verify the veracity of orders fulfilled by Defendants.30 No reasonable person could dispute

  that Plaintiff had notice of any prospective claims against Defendants as it pertains to the

  submission of information to KASPER. Nevertheless, Plaintiff waited ten years to attempt to assert

  these claims.




  25
     See Motion to Compel Discovery, attached hereto as Exhibit E.
  26
     See Testimony Transcript of James Dustin Chaney, Day 3 of 25, attached hereto as Exhibit F.
  27
     See Motion to Compel Discovery.
  28
     Transcript of Evidentiary Hearing, attached hereto as Exhibit G, at P. 84-86.
  29
     See Transcript Day of 15 of 25, attached hereto as Exhibit H.
  30
     See Exhibit A, at page 8.

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             B.)    Plaintiff cannot succeed on any of his claims because they are barred by
                    collateral estoppel, as they all stem from the same facts and issues necessarily
                    litigated to conclusion in his preceding criminal trial.

             Collateral estoppel, or issue preclusion, is a broad procedural doctrine which prohibits the

  re-litigation of issues finally decided in a previous proceeding.31 While ordinarily an affirmative

  defense, collateral estoppel can be properly brought by motion to dismiss when there is an absence

  of genuine factual disputes.32 Collateral estoppel requires 1) The issue(s) at bar must be the same

  as the one(s) in the prior case; 2) the issue(s) must have been actually litigated; 3) the issue(s) must

  have been necessary to the court’s judgment in the prior action; and 4) the issue(s) was/were

  actually subject to a final decision or judgment in that prior action.33 When determining the

  applicability of collateral estoppel’s preclusive effect on overlapping issues, courts ask whether

  the litigant against whom estoppel is asserted had a full and fair opportunity to represent their

  interests on those issues.34 In practice, collateral estoppel serves to prevent the re-litigation of

  facts.35

             Collateral estoppel is applicable in civil cases, where the issues at bar are the same as those

  decided in the criminal matter.36 Here, Plaintiff is essentially using his claims against dozens of

  defendants as a collateral attack on his criminal convictions. Despite the fact that Plaintiff was

  convicted beyond a reasonable doubt of dozens of counts of drug distribution, he is now alleging

  claims against Defendants which necessarily implicate the same issues. Indeed, while Plaintiff has

  brought claims for negligence, fraud, identity theft, defamation, false light, and Kentucky

  Consumer Protection Act violations, the factual substance of these claims, taken in aggregate,


  31
     In re Commonwealth Institutional Securities, Inc., 394 F.3d 401, 405 (6th Cir. Ct. App. 2005).
  32
     Sedley v. City of West Buechel, 461 S.W.2d 556, 559 (Ky. Ct. App. 1970); see also Larter & Sons v. Dinkler
  Hotels Co., 199 F.2d 854, 855 (5th Cir. Ct. App. 1952).
  33
     Miller v. Administrative Office of Courts, 361 S.W.3d 867, 872 (Ky. 2011).
  34
     N.L.R.B. v. Kentucky May Coal Co., Inc., 89 F.3d 1235, 1239 (6th Cir. Ct. App. 1996).
  35
     Parklane v. Hosiery Co., Inc. v. Shore, 439 U.S. 322, 336 n.23 (1979).
  36
     Donovan v. Thames, 105 F.3d 291, 295 (6th Cir. Ct. App. 1997).

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  hinges on the supposition that the over 80 defendants in this matter conspired to submit false

  information about the Plaintiff to KASPER. However, Plaintiff cannot rely on this set of factual

  allegations for his claims when he was already convicted by the strictest evidentiary standard for

  the very scheme he is now alleging was carried out by the Defendants.

           Violations of the crimes of which Plaintiff was convicted, 21 U.S.C. § 846 (conspiracy to

  unlawfully distribute controlled substances) and 21 U.S.C. § 846(a)(1), each required the Plaintiff

  to have a knowing and intentional state of mind.37 Put plainly, with the conviction, Plaintiff was

  found to have been consciously aware of the goals of his crimes. All his claims however, spawn

  from the same common nucleus of fact: that the data entered into KASPER by Defendants was

  false. Pharmacists have no obligation to enter data into KASPER until the moment they fulfill a

  prescription containing controlled substances, ordered by a physician.38 That is, KASPER reports

  are only made after a prescription has been ordered by a physician and subsequently filled by the

  pharmacy/pharmacist.

           Plaintiff has already been convicted of knowingly and intentionally distributing controlled

  substances.39 His role in the scheme he now attributes to the Defendants in aggregate was already

  determined beyond a reasonable doubt by the jury that voted to convict him.40 The facts that

  Plaintiff must order a prescription and that Defendants would only then fill that prescription, are

  not substantively separate facts. Rather, they are the very same issue by virtue of Plaintiff’s

  conviction.41




  37
     See Exhibit A cited supra note 2 at P. 11-12.
  38
     KRS 218A.202; KAR 55:110.
  39
     Plaintiff’s Complaint ¶ 118.
  40
     See Verdict Form, attached hereto as Exhibit I.
  41
     See Exhibit A cited supra note 2 at P. 11-12.

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           Now Plaintiff intends to attack his convictions by the only remaining means. He had a full

  and fair opportunity to obtain evidence during his criminal proceeding. He was presumably

  permitted to examine witnesses and make defenses.42 Plaintiff had a full opportunity to represent

  his interests on this matter, from before his trial and throughout the unsuccessful appeal of his

  criminal convictions.43 He cannot, therefore, maintain claims arising out of the allegations that

  KASPER reports were entered with errors attributable to the Defendants if it was Plaintiff’s

  knowing and intentional acts which served as the origin for the Defendants’ obligations to make

  those reports in the first place. These are the same issues, and they are foreclosed. To say otherwise

  would be tantamount to permitting a collateral attack on the judgment from the prior criminal

  proceeding, brought only after Plaintiff completely exhausted all procedural remedies for escaping

  the consequences of his conduct.

           C.)      Even excluding the preceding arguments, Plaintiff does not allege specific facts
                    which elevate his claims beyond a mere speculative level of pleading, and
                    therefore, they should be dismissed.
           Plaintiff specifically alleges negligence, fraud, identity theft, defamation, false light, and

  Kentucky Consumer Protection Act violations.44 However, he has alleged none of them with the

  detail necessary to maintain his action. To resist a motion to dismiss for failure to state a claim, a

  plaintiff’s complaint requires that, “[f]actual allegations must be enough to raise allegations above

  the speculative level.”45 Nevertheless, Plaintiff has failed this requirement on all his claims.

                    1.   Negligence

           Plaintiff has alleged that Defendants are negligent because they filed inaccurate KASPER

       reports. Negligence requires 1) the existence of a duty; 2) a breach of that duty traceable to the


  42
     United States v. Chaney, 921 F.3d 572, 590, 593-94, 597 (6th Cir. Ct. App. 2019).
  43
     See Id.
  44
     Plaintiff’s Complaint at ¶ 126-66.
  45
     Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).

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     defendant, and; 3) damages stemming therefrom.46 However, Plaintiff has done nothing in his

     Complaint to identify a duty, if any, owed to him by the Defendants.47 As a result, Plaintiff has

     not even alleged the very minimum in his Complaint necessary to sustain an action for

     negligence.48

                  2. Fraudulent Misrepresentation

     Kentucky law mandates that fraudulent misrepresentation requires 1) a material statement

made to the plaintiff; 2) which was false; 3) made knowingly or recklessly with the respect to its

falsity; 4) made with the intent that plaintiff rely on said representation; 5) plaintiff reasonably

relied on that representation and ; 6) the misrepresentation caused injury to the plaintiff.49 Fraud

is further subject to heightened pleading standards under the Federal Rules of Civil Procedure. A

plaintiff alleging fraud can only defeat a motion to dismiss when he 1) specifically identifies the

fraudulent statements; 2) identifies the speaker; 3) pleads when and where the statements were

made; and 4) identifies what made the statements fraudulent.50 However, not only has Plaintiff

failed to plead any facts which even intimate that Defendants made any statements to him intended

to induce an act, but Plaintiff likewise fails to identify the specific statement(s) which were

fraudulent, when they were made, and what makes the alleged statements fraudulent.51 As such,

he has failed to meet the heightened pleading standards required by the Federal Rules.

                  3. Identity Theft

         Plaintiff’s identity theft claim under KRS 514.160 is not sufficiently pled. Identity theft

requires knowingly possessing or using current or former identifying information of another with



46
   Wright v. House of Imports, Inc., 381 S.W.3d 209, 213 (Ky. 2012).
47
   See Plaintiff’s Complaint at ¶ 126-29.
48
   Wright v. House of Imports, Inc., 381 S.W.3d 209, 213 (Ky. 2012).
49
   Bisig v. Time Warner Cable, Inc., 940 F.3d 205, 214 (6th Cir. Ct. App. 2019).
50
   Republic Bank & Trust Co. v. Bear Sterns & Co., Inc., 683 F.3d 239, 248 (6th Cir. Ct. App. 2012).
51
   Plaintiff’s Complaint at ¶ 130-38.

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the intent to represent oneself as that other person.52 However, Plaintiff has not pled that

Defendants intended to appropriate Plaintiff’s identifying information for the purpose of assuming

his identity.53 Plaintiff’s claims stem from factual allegations regarding the Defendants’ use of

KASPER. However, reports made through KASPER by Defendants, is not enough on its own to

maintain a claim for identity theft. KASPER reports are made by pharmacists at the point of

fulfilling prescriptions for a physician’s patients. The filling pharmacist is required to use the DEA

number of the ordering provider to fulfill that order.54 The mere use of said number indicates

absolutely nothing about any alleged intent of Defendants.

                 4. Defamation

        Plaintiff alleges Defendants defamed him when they “published” KASPER reports using

his DEA number.55 This claim is not one entitled to relief under the law. Kentucky law requires a

plaintiff to prove defamation by 1) identifying an unprivileged communication to a third-party; 2)

which is false and defamatory; 3) with fault amounting to at least negligence; and 4) damage.54 A

statement is false and defamatory when it 1) brings an individual into public hatred; 2) causes him

to be shunned or avoided; or 3) injures him in his business or occupation.57

        However, Plaintiff’s claim fails for two reasons. First, the “publication” Plaintiff alleges in

his Complaint pertains to the filing of KASPER reports by Defendants. This is not speech which

tends to put the Plaintiff in the public light at all, let alone a negative light. Rather, information

disclosed to the government of Kentucky stays exclusively with the government. The reason the

information pertaining to Plaintiff was exposed to the public was because of his conduct in carrying



52
   KRS 514.160.
53
   Plaintiff’s Complaint at ¶ 156-59.
54
   KAR 55:110(2)(f).
55
   Plaintiff’s Complaint at ¶ 92, 94.
56
   Toler v. Süd–Chemie, Inc., 458 S.W.3d 276, 281-82 (Ky. 2014).
57
   Doe v. Coleman, 436 S.W.3d 207, 210 (Ky. Ct. App. 2010).

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out a criminal drug distribution enterprise. Indeed, the information itself is not defamatory at all.

It is factually true information. KASPER reports merely contain information pertaining to the

prescriptions made by ordering providers.58 Plaintiff’s loss of business and damage to his

reputation do not come from Defendants’ KASPER reports, but from the government’s decision

to prosecute his criminal conduct.

         Further, for defamation to be actionable, it must pertain to an unprivileged communication

to a third-party. However, Kentucky law expressly privileges communications compelled by law.59

Kentucky law also requires pharmacists to make KASPER reports whenever a prescription

containing a controlled substance is fulfilled.60 As such, the reports made by Defendants cannot

be defamatory because they are categorically privileged as communications required under the

law.61

                 5. False Light

         False light similar to defamation. It is premised on the invasion of privacy, and requires

details pertaining to plaintiff to be brought before the public.62 False light requires a showing of 1)

that the defendant put the plaintiff in a false light before the public which would be highly offensive

to a reasonable person; and 2) that this was done with either knowledge by the defendant or

reckless disregard as to the falsity of the publicized matter which put the plaintiff in false light.63

         Here, Defendants merely fulfilled their legally compelled obligations to communicate

information about filling prescriptions for controlled substances to the Kentucky government.




58
   See KASPER Controlled Substance Reporter Guide, at P. 23-30, attached hereto as Exhibit J.
59
   Hill v. Kentucky Lottery Corp., 327 S.W.3d 412, 425 (Ky. 2010); see also
60
   KRS 218A.202; 902 KAR 55:110.
61
   See Hill. 327 S.W.3d at 425.
62
   McCall v. Courier-Journal and Louisville Times Co., 623 S.W.2d 882, 887-88 (Ky. 1981).
63
   Id.

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Those communications were shared exclusively with the government, not the greater public.64

Defendants would have no reason to believe nor suspect that the information entered into KASPER

would ever bring Plaintiff into the public light. Further, the fact that Plaintiff was eventually

indicted was not caused by the legally obligated reports made by Defendants, but, again, by his

own conduct. Had Plaintiff not been involved in a criminal drug distribution enterprise, none of

the information ever would have become public, and he implicitly concedes as much in his

Complaint.65 As such, Plaintiff cannot sustain his false light claim.

                  6. Kentucky Consumer Protection Act Violations

         Under Kentucky law, a party wishing to recover for an alleged Kentucky Consumer

Protection Act violation must be in privity with the other party.66 Alleged violations are generally

premised on, “…an action by a purchaser against [the] immediate seller.”67 However, Plaintiff has

not alleged any privity with the Defendants. Moreover, he has not alleged Defendants are sellers

within the context of the Kentucky Consumer Protection Act.68 Nor has Plaintiff even identified

the particular statute which he alleges Defendants violated pursuant to his Kentucky Consumer

Protection Act claims.69 As such, Plaintiff’s Kentucky Consumer Protection Act claim is

inconsistent with Kentucky law and lacks the requisite specificity to properly provide notice to the

Defendants concerning the basis of the claim.70




64
   See Exhibit J cited supra note 55 at P. 20-23 (KASPER reports utilize encryption to protect the content of the
shared information).
65
   Plaintiff’s Complaint at ¶ 112-14.
66
   Helton v. American General Life Ins. Co., 946 F.Supp.2d 695, 702 (W.D. Ky. 2013).
67
   Id.
68
   Plaintiff’s Complaint at ¶ 159.
69
   Id.
70
   Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007).

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        D.)     Plaintiff’s remaining counts of “causation,” “attorney’s fees,” and “punitive
                damages,” are not causes of action.

        The remaining “claims” in Plaintiff’s Complaint should likewise be dismissed. Plaintiff’

lays out what are essentially prayers for relief or demands for damages as independent and free-

floating causes of action.71 Further, attorney’s fees are ordinarily not recoverable unless explicitly

identified as such by statute or contract. However, Plaintiff does not allege any such statute or

contract in his Complaint.72

        E.)     Plaintiff’s claims against Hometown Pharmacy of Hazard, LLC are
                impossible because Hometown Pharmacy of Hazard, LLC was not in
                existence at any time referenced in Plaintiff’s Complaint.

        All acts complained of by Plaintiff occurred before 2016.73 Plaintiff’s Complaint alleges

that the conspiracy of various pharmacies led to his conviction for crimes pertaining to the

distribution of controlled substances in 2016.74 It is beyond dispute that Hometown Pharmacy of

Hazard, LLC was incorporated in 2019.75 Therefore, it is impossible for Defendant to have

conspired against Plaintiff as alleged because Defendant did not exist at the time of the complained

of conduct. As such, Plaintiff’s Complaint against Defendant must be dismissed. In fact, FRCP 11

requires Plaintiff and his counsel to have performed sufficient due diligence before filing suit

against a non-related party that was not in existence when the alleged acts occurred. Hometown

Pharmacy of Hazard, LLC has, and will continue to incur attorneys’ fees and costs to prove to this

Court what is readily available in the public record. Plaintiff should so be admonished, and an

order of costs and fees are warranted.




71
   Sheehan v. Turner Construction Company, 2019 WL 1320046 at *11 (E.D. Ky. 2019).
72
   Plaintiff’s Complaint at ¶ 159.
73
   Plaintiff’s Complaint, at ¶ 118-19.
74
   Id.
75
   See Exhibit D.

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                                       IV.     CONCLUSION

        For the foregoing reasons, even were Plaintiff able to prove the allegations contained

 within his Complaint, the applicable statutes of limitation completely bar his success on any and

 all of his claims. Assuming arguendo that Plaintiff’s claims were timely made, which is expressly

 denied, Plaintiff’s claims against this Defendant would still fail because Hometown Pharmacy of

 Hazard, LLC was not in existence at any time relevant to this litigation. As such, Plaintiff is

 unable to succeed under any set of facts alleged and Defendant, Hometown Pharmacy of Hazard,

 LLC, is entitled to dismissal with prejudice of Plaintiff’s claims against them.

                                              Respectfully submitted,


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                                                       Jason S. Morgan (KBA #91635)
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                                                       Counsel for Hometown Pharmacy of Hazard,
                                                       LLC


                                  CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been electronically served
by way of the Courts’ CM/ECF system.


All on this the 28th day of February 2024.

BY:    /s/ Jason S. Morgan
       Jason S. Morgan




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